                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                               Re: Case No.: 23cv114

                               NOTICE OF RIGHT TO CONSENT
                           TO THE EXERCISE OF CIVIL JURISDICTION
                                  BY A MAGISTRATE JUDGE

        Your attention is invited to Title 28 U.S.C. § 636(c).

        You are hereby notified that if all parties to a civil case consent, the United States magistrate

judges of this district court, in addition to their other duties, may conduct a trial pursuant to 28 U.S.C. §

636(c)(1) and order the entry of a final judgment. An appeal from a judgment entered by a magistrate

judge shall be taken directly to the United States court of appeals for this judicial circuit in the same

manner as any appeal from a judgment of the district court.

        Your decision to consent to the referral of your case to a United States magistrate judge for trial

and entry of a final judgment must be entirely voluntary. The judge or magistrate judge to whom the

case has been assigned will not be informed of your decision unless all parties agree that the case may

be referred to a magistrate judge for these specific purposes. A less than unanimous decision will not

be communicated by my office to either the judge or magistrate judge.

        In order to consent, you must complete and return the attached Notice and Response on

Reference of a Civil Action to a Magistrate Judge form, which is also available on the Court’s website

at www.ncmd.uscourts.gov, and return the form to the Clerk of the Court only:

        By email:       mjform@ncmd.uscourts.gov

        Or by mail:     US District Court
                        324 W. Market Street
                        Greensboro, NC 27401

If you do not consent, no response is necessary.

_02/08/2023_
    Date
                                                                /s/ John S. Brubaker
                                                         JOHN S. BRUBAKER, Clerk of Court




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